          Case 22-51843-sms                             Doc 1          Filed 03/07/22 Entered 03/07/22 16:19:43                                     Desc
                                                                      Petition Page 1 of 8
                                                                                                                                               GLE. His:'s
 Fill in this information to identify the case:                                                                                        U.S. BANKRUPTCY' com:7:
                                                                                                                                         NORTHERN Of5TRICT
, United States Bankruptcy Court for the:                                                                                                    OF c:;EoRGI.A

                                                                                                                                       :7    4P'    ...7
                             District of
                                           (Slate)
                                                                                                                                                        PH 4: IC=
  Case number (if known).                                          Chapter51kitY*                          71          /                 0,67.1i66kitthToiWqRs
                                                                                                                                             a eii

            22              fin 51843
                                                                                                     c91—
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name                                    Omnitech lnstituteJ                                   7 7VC-0


  2. All other names debtor used
     in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names



  3. Debtor's federal Employer                   n            _
     Identification Number (EIN)



  4. Debtor's address                            Principal place of business                                    Mailing address, if different from principal place
                                                                                                                of business

                                                     1800 Phoenix Blvd
                                                 Number           Street                                        Number      Street

                                                     Building 100, Suite 100                                    PO Box 43846
                                                                                                                P.O. Box

                                                     Atlanta                       GA         30349             Atlanta                     GA             30336
                                                 City                              State     ZIP Code           City                        State          ZIP Code

                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business
                                                     Fulton
                                                 County
                                                                                                                Number      Street




                                                                                                                City                        State          ZIP Code




  5. Debtor's website (URL)                      N/A




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Debtor        Omnitech Institute Incorporated                                               Case number (ffk..)
             Name


                                         U Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                         U Partnership (excluding LLP)
                                            Other. Specify:

                                         A. Check one:
 7. Describe debtor's business
                                         U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         LI Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         U Railroad (as defined in 11 U.S.C. § 101(44))
                                         U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         U Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         U None of the above


                                         B.Check all that apply:

                                         U Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         U Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         U Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System)4-digit code that best describes debtor. See
                                            htta://www.uscourts.00v/four-diait-national-association-naics-codes
                                            6     1 1 4
 e. Under which chapter of the           Check one:
    Bankruptcy Code is the
    debtor filing?                       U Chapter 7
                                         El Chapter 9
                                         U Chapter 11. Check all that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                   O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                           aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                       affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                      recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                       income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor) must                          11 U.S.C. § 1116(1)(B).
     check the second sub-box.                           U The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                           less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                           Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                           statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                           § 1116(1)(B).

                                                         O A plan is being filed with this petition.

                                                         O Acceptances of the plan were solicited prepetition from one or more classes of
                                                           creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                           Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                           Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                           for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                           12b-2.
                                         0 Chapter 12




  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 2
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Debtor         Omnitech Institute Incorporated                                              Case number (ifimown)
               Name



 9.   Were prior bankruptcy cases        0'No
      filed by or against the debtor
      within the last 8 years?          U Yes. District                                When                         Case number
                                                                                              MM! DD / YYYY
      If more than 2 cases, attach a                                                                                Case number
                                                   District                            When
      separate list
                                                                                              MM! DD / YYYY


 w. Are any bankruptcy cases             0 No
    pending or being filed by a
    business partner or an              Li Yes. Debtor                                                              Relationship

    affiliate of the debtor?                       District                                                         When
                                                                                                                                   MM / DD      /YYYY
      List all cases. If more than 1,
      attach a separate list.                      Case number, if known



 11.Why is the case filed in this       Check all that apply:
    district?
                                         Er Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         Li A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12.Does the debtor own or have     No   0
    possession of any real        U Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                 Why does the property need immediate attention? (Check all that apply.)
    attention?
                                         CI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                      What is the hazard?

                                                  U It needs to be physically secured or protected from the weather.

                                                  Li It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  U Other



                                                  Where is the property?
                                                                             Number         Street




                                                                             City                                                  State ZIP Code


                                                  Is the property insured?
                                                  Li No
                                                  U Yes. Insurance agency

                                                              Contact name

                                                              Phone




              Statistical and administrative information




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 3
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Debtor        Omnitech Institute Incorporated                                                     Case number (It known)
              Name




 13.   Debtor's estimation of              Check one;
       available funds                     U Funds will be available for distribution to unsecured creditors.
                                           la After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                           la 1-49                             U 1,000-5,000                                U 25,001-50,000
 14.Estimated number of                    U 50-99                             U 5,001-10,000                               U 50,001-100,000
    creditors
                                           U 100-199                           U 10,001-25,000                              U More than 100,000
                                           U 200-999

                                               $0-$50,000                          $1,000,001-$10 milfion                     $500,000,001-$1 billion
 15.Estimated assets                           $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                               $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                 $100,000,001-$500 million                U More than $50 billion


                                               $0-$50,000                          $1,000,001-$10 milUon                      $500,000,001-$1 billion
 is. Estimated liabilities                     $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                               $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                 $100,000,001-$500 million                U More than $50 billion



             Request for Relief, Declaration, and Signatures


 WARNING         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                 $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                               petition.
       debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                               Executed on   () 3 10 } I ZOLZ'
                                                             MM I DD IYYYY

                                                                                                                                 C Lester
                                               Signature of authorized representative of debtor                  ted name


                                               Title       VP e




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 4
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Debtor        Omnitech Institute Incorporated                                        Case number (11 blown)
             Name



 le. Signature of attorney
                                                                                                Date
                                       Signature of attorney for debtor                                       MM     / DD / YYYY




                                       Printed name


                                       Firm name


                                       Number         Street


                                       City                                                          State            ZIP Code


                                       Contact phone                                                 Email address




                                       Bar number                                                    State




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                     UNITED STATES BANKRUPTCY COURT

                                             DIOna-- re- Oeocg1
In Re:                                                                       Case No.

                                                                            Chapter
 OvNAnt.   kech      kg%      te 1rc .

                              Debtor(s)




     VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.




Dated:




                                                     Debtor



                                                     Joint Debtor


                                                     s/
                                                     Attorney for Debtor




USBC-44                                                                                     Rev. 11/15
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Woodforest National Bank
Serve RiA: CT Corporation System
4701 Cox Road
Suite 285
Glen Allen VA 23060
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                                                                 Petition Page 8 of 8
   Case Number:22-51843                             Name: Omnitech Institute Incorporated
                                                                                                                                       01.11
Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

CI Individual - Series 100 Forms                                                              IZI Non-Individual - Series 200 Forms
 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                          Petition Deficiencies:
 0 Complete List of Creditors (names and addresses of all creditors)                          O Last 4 digits of SSN
 O Pro Se Affidavit (due within 7 days, signature must be notarized,                          O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                         O Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                                1=1 Chapter
                                                                                              O Nature of Debts
  MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        O Statistical Estimates
  1Z Statement of Financial Affairs                                                           O Venue
  El Schedules: A/B D E/ F G H                                                                E Attorney Bar Number
  • Summary of Assets and Liabilities
  1Z Declaration About Debtor(s) Schedules
                                                                                                                Case filed    via:
  El Attorney Disclosure of Compensation
                                                                                         0 Intake Counter by:
  El Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                              O Attorney
  E Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                              O Debtor - verified ID:
  E Chapter 13 Current Monthly Income
                                                                                              El Other - copy of ID: CEO: Charlton C. Lester
  E Chapter 7 Current Monthly Income
  O Chapter 11 Current Monthly Income
  O Certificate of Credit Counseling (Individuals only)
  1=1 Pay Advices (Individuals only) (2 Months)
                                                                                         0 Mailed by:
                                                                                            O Attorney
                                                                                                                  7e-          bW /917
                                                                                            O Debtor
  O Chapter 13 Plan, complete with signatures (local form)                                  O Other:
  EX1 Corporate Resolution (Business Ch. 7 & 11)
                                                                                         0 Email [Pursuant to General Order 45-2021, this
  Ch.11 Business                                                                         petition was received for filing via email]
  [El 20 Largest Unsecured Creditors
  El List of Equity Security Holders                                                                 History of Case Association
  O Small Business - Balance Sheet                                                       Prior cases within 2 years:
  O Small Business - Statement of Operations
  O Small Business - Cash Flow Statement                                                 Signature:.
  O Small Business - Federal Tax Returns                                                 Acknowledgment of receipt of Deficiency Notice

  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  O Statement of Intent — Ch. 7 (Individuals only)

         Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
        CI Paid $ 0     CI 2g-Order Granting     CI 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
         LI 2d-Order Denying with filing fee of $                due within 10 days        LI IFP filed (Ch.7 Individuals Only)
         El Order Regarding Unpaid Case Filing Fee.
                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
Intake Clerk:     E. Lestrade                    Date: 3/7/22                       Case Opener:                                     Date:
